                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
vs.                                          )      Case No. 06-3114-06-CR-S-GAF
                                             )
ELIAS MOHAMED,                               )
                                             )
                      Defendant.             )

                                            ORDER

       Now pending before the Court is Defendant’s Motion to Suppress Evidence and

Statements. Defendant asserts that evidence and statements seized as a result of a vehicular stop

should be suppressed because the officer did not have a reasonable basis to suspect criminal

activity, and that because the reason for the initial stop had been completed and Defendant had

been told he was free to leave, his continued detention was unlawful.

       Chief United States Magistrate Judge James C. England conducted an evidentiary hearing

on September 27, 2007. On October 23, 2007, Judge England issued his Report and

Recommendation.

       Upon careful and independent review of the pending motion, Defendant’s objections to

the Magistrate's Report and Recommendation, as well as the applicable law, this Court hereby

adopts and incorporates as its own Opinion and Order the Report and Recommendation of Chief

United States Magistrate Judge James C. England.




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     Accordingly, it is hereby ORDERED that Defendant's Motion to Suppress Evidence and

Statements is OVERRULED and DENIED.

     SO ORDERED.

                                              s/ Gary A. Fenner
                                              GARY A. FENNER, JUDGE
                                              UNITED STATES DISTRICT COURT

DATED: November 9, 2007




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